Case 2:15-cV-00890-.]LR Document 1-1 Filed 06/03/15 Page 1 Of 18

EXhibit l

 

 

Case 2:15-cV-00890-.]LR Document 1-1 Filed 06/03/15 Page 2 of 18

SUPER|OR COURT OF WASHlNGTON
COUNTY OF K|NG

 

Kerry Leach NO. 15-2-12793-4 SEA
VS
CASE lNFORlVlATlGN COVER SHEET
NCO FlNANClAL SYSTEl\/lS, lNC. AND AREA DES|GNAT|ON
CAUSE OF ACT|ON
(MSC) - OTHER COl\/lPLAlNT/PETlTlON (l\/ISC 2)
AREA DES|GNAT|ON

SEATTLE _ Del"med as all King County north of lnterstate 90 and including all
of lnterstate 90 right of Way, all of the cities of Seattle, l\/lercer
lsland, lssaquah, and North Bend, and all of Vashon and l\/laury
lslands.

 

Case 2:15-cV-OO890-.]LR Document 1-1 Filed 06/03/15 Page 3 of 18

 

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IN THE SUPERIOR COUR'I` OF WASI~IB\IGTON

IN AND FOR KYNG COUNTY
KERR`Y LEACH,
NO.
Plaintiff,
SUMMONS
vs.

NCO P'INANCIAL S'YSTEMS INC.,_

§)e fendant,

 

'r0 arle J)EFENDANT: NCO Financial Syszems, lnc.;

A lawsuit has been started against you in the above-entitled eoult by the P}.aintitl’, ’l`his claim
is stated in the written Complaint, a copy of which is ser\jed upon you with this Summons.

ln order to defend against this lawsuit,\you must respond to the Complaint by stating your
defense in writing, and by serving a copy upon the person signing this Smnmons within twenty (20)
days (in state) or sixty (60) days (out of state) alter the service of this Summons, excluding the day of
serv ice, or a default judgment may be entered against you without notice A default judgment is one

Where a`plnintiif is entitled to what has been asked for because you have not responded If you serve

a notice of appearance on the nndexsigned person, you are entitled 10 a notice before a default

judgment may be entered
ANl)ERsoN LAW on
S\lmm<m$ ~1 KING cotJNTY,PLL<:
787 MAYNARD AVE S
SEA'I'I`LE WA 98104

(206) 395»2665/1" (206) 395~2719

 

 

 

Case 2:15-cV-OO890-.]LR Document 1-1 Filed 06/03/15 Page 4 of 18

 

 

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If'you Wish to seek the advice of an attorney on thin matter, you should do so promptly so that
your written response if any, may be served on time
'I`HIS S'UMMONS is issued pursuant to Rule 4 of the Superior Cou.rt Ci.vi,l Rules ofthe

State ofWashington.

Respectfu]ly submitted this Sth day of May, 2015.

AN})ERSON LAW ()F KING COUNTY, PLLC

 

Attorneys for Ken~y Leach
?87 M'aynard Ave. S.
Seattle, WA 98104

(206) 395~2665

(206) 395~2'719 (fax)

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Summons 2 KING COUNTY, PLLC
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Case 2:15-cV-OO890-.]LR Document 1-1 Filed 06/03/15 Page 5 of 18

 

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I`N THE SUPERlOR COURT OF WASI'HNGTON
n IN AND FOR KING COUNTY

KERRY LEACH,
NO.
Plaintiff,
COMPLAINT FGR VIOLA'I`IONS OF 15
vs. U.S.C. § 1692 E'l" SEQ. AND RCW
CHAP'I'ERS 19.16 AN`D 19.86 ET SEQ.
NCO §?INANC.ZAL SYS'I`EMS INC.,

Defendant.

 

COMES NOW Plaintiii`Kerry Leach, by and through counsel., Who alleges:
I. PARTIES ANI) .'fURXSl)IC’i‘I()N

l. Plaintiff Kerry Leach is an individual who resides in King County, Washington
Sta€e.

2. Dot`endant NCO Financia§ Systems, lno. (“NCO”), a Washingl'on Corporation, is a
debt collector and collection agency doing business in Washington, and who repeatedly
attempted to collect an alleged debt from Plaintifi`. NCO’S registered agent is C'l` Corporation
System, 505 Union Ave. SE Suite 120, Olympia, WA 98501,

il 3. Jurisdiction over Defendant is proper as Defendant is doing business in
Washington State and all relevant actions occurred in King County, “W'eshington.

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Case 2:15-cV-00890-.]LR Document 1-1 Filed 06/03/15 Page 6 of 18

 

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4. Plaintiff allegedly entered into a credit card agreement with a creditor named
Synovus.

5. 'l_`he credit card and all transactions Surrounding the card were allegedly managed

by a company called Systems and Sert/ices Technologies, In'c. (“SST”).

6. On or about August 18, 2014, SST created a billing statement and mailed it to
Plaintil`f. See Letter from SST attached as Exhil)it A,

’l. 'Z`he letter asked for a minimum payment of $\'750, and indicated a balance of
$3855.30. Id.

8. v Per the billing statement, the payment due date was September 15, 2014 Id.

9. On er about August 23, 2014, N(lO sent a collection letter to Plaintill` (hereatter
“Colleotion Letter”). See Coliectiou Letter attached as Exhibit B.

10. 011 information and belief, the Collection Letter Was the first communication from
NCO.

l 1`. "I`he Ccllectionfletter asked Plaintitt` to make a payment ot`$2313.18 within 20
days of the date of the letter in order to settle the account

12. The Collcction Letter from NCO did not contain numerous pieces of information
as required by both Federal and State law.

III. CAUSI€S lOF AC'}`ION
GENERAL ALLEGA'I”.{O`NS APP'LICABLE ’I`O A.L'L COUNTS
l3.» With respect to the alleged debt, Plaintifl` is a consumer as defined by 15 U.S.C. §

169221(3) and Defendant is a debt collector as defined by 15 UcS.C. § 16923(6).

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Case 2:15-cV-OO890-.]LR Document 1-1 Filed 06/03/15 Page 7 of 18

 

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14. With respect to the alleged debt, l’laintiff is a “debtor” as defined by RCW
19.16.100(11) and I)et`endant is a collection agency as defined by RCW 19.16.100(2).
Count 1
15. Witln'n five days alter the initial communication with a consumer in connection
with the collection of any debt, a debt collector shall, unless the following information is
contained in thc initial communication ortho consumer has paid thc debt, send the consumer a
written notice containing . .a statement that unless the consumcr, within thirty days alter receipt
of the noticc, disputes the validity ofthe dcbt, or any portion thereof the debt will be assumed to
be valid by the debt collector. 15 U.S.C. § 1692g(a)(3).
16. In the Collection Lettcr, Defendant failed to provide the required statement
17. Plaintit`f did not receive any written notice with the required statement within live
days of the initial communication the Collcction Letter`
18. Thercforc, Dcfcndant violated 1692g(a.)(3).
Count ll
19. Within live days after the initial communication with a consumer in connection
with the collection of any dcbt, a debt collector shall, unless thc following information is
contained in the initial communication or thc consumer has paid the deht, send the consumer a

written notice containing ..a statement that if tile consumer notifies the debt collector in writing

within the thirty-day period that the debt, or any portion thereof, is*disputed, the debt collector

will obtain verification oithe debt or a copy of a judgment against the consumer and a copy of
such verification or judgment will be mailed to thc consumer by the debt collector~ 15 U.S.C. §
169zg(a)(4).

20. In the Collection Letter, Defendant failed'to provide the required statement

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Case 2:15-cV-OO890-.]LR Document 1-1 Filed 06/03/15 Page 8 of 18

 

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21. Plainti'l"f did not receive any Written notice with the required statement xvithin live
days ofthe initial communication, the Collection Letter.
22. 'l`herefore, `Dcfendant violated 169Zg(a)(4).
Count III
23. Within»iive days alter the initial communication with a consumer in connection
Wit}i the collection of any debt, a debt collector shall, unless the following information is
contained in the initial comnmnication or the consumer has paid the debt, send the consumer a
written notice containing l .a statement that, upon the consumers written request within the
thirty-day period, the debt collector will provide the consumer With the name and address of the
original creditor, if different from the current creditor. 15 U.S.C. § 1692g(a)(5).
24. ln the Collection Letter, Defondanl failed to provide the required statement
25. Plaintiff did not receive any written notice with the required statement within five
days of the initial communication the Collection Letter.
26. 'I`herefore, I)efendant violated l692g(a)(5),
Counts IV through V
27. A debt collector may not use any false, deceptive or misleading representation or
means in connection with the collection of any debt 15 U.S.C. § 16920.
28. Plaintiil` received two letters from two di'li’erent entities attempting to collect on
the alleged debt
29. C)n information and belief, those letters revere sent nearly simultaneously - the
letters are dated Within three days of each other~
` 30. Because two entities Were simultaneously attempting to collect on a debt,

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Dei`endant used misleading and deceptive means to collect on a debt

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Case 2:15-cV-00890-.]LR Document 1-1 Filed 06/03/15 Page 9 of 18

 

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31. ln the two letters, the entities demanded different amounts:

a. 'l‘he letter from SS'I` asked for a minimum payment of $'3'5()1 Presumal§ly that
would keep the credit account current and the creditor-debtor relationship would
continue between Plaintit`t.` end Synovus.

b. 'l`hc Letter from NCO asked Plaintifl? to ‘fsettle” the debt for $2313.18.
Presumably, this would close the account and terminate Plaintiil"s reintionehip
with Synovus. `

' 32. '§`wo entities taking separate and distinct positions on the same debt et the same

time Was misleading and deceptive

33. 'I`herefore, Defertdant violated 15 U.S.C, § 1692e and/or its subsections on at least
two (2) occasions.

Couuts VI through VII

3;4. A debt collector may not use unfair or unconscionable means to coilect or attempt
to collect any debt 15 U.S.C. § 1692f. 'l'he collection of any amount not expressly authorized
by the agreement creating the debt is a violation of 15 U.S.C. § 1692f(]).

35. Pleintiti` realleges paragraphs 28 through 31, supra

36. Defendant was attempting to collect on an alleged debt simultaneously with
another entily. Additionally, such collection efforts provided conflicting information
Defendant’s actions were unfair and/or unconscionable

37. 'le.erefore, ll)efendant violated 15 U.S.C. § 1692£`011 at least two (2) occasions.

Count V]II

38. No licensee or employee of a licensee shell give or send to any debtor or cause to

be'given or sent to any debtor, any notice, letter, message or form, other than through proper

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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 10 of 18

 

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legal action, process, cr proceedings, which represents or implies that a claim exists unless it
shall indicate in clear and legible typc, if the notice, letter, message or form is the first notice to
the debtor, an itemization cf the claim asserted must be made including the date of the last
payment to the creditor on the subject debt by the debtor RCW 19.16.250(8)(e){ii).

39. On interrelation end belief, the Collection Lctter sent by Defendant NCO was the
first notice to Plaintif`f, the alleged debtor.

40. Thc Coilection Letter does not state the date of last payment

41. l)et`endant therefore violated RCW 19.16.250{8)(e)(ii).

Cottnt IX through XI

42. No licensee or eroployec of a licensee shall give or send to any debtor or cause to
be given or sent to any debtor, any ootice, letter, message or fomi, other than through proper
legal action, process, or proceedings, which represents or implies that a claim exists unless it
shall indicate in clear and legible ty§)c, lfthe notice, lettor, message, or form is the first notice to
tile debtor, an itemization of the claim asserted must be made including interest or service
charge collection costs, or late payment charges, if any, added to the original obligation by the
original creditor, customer or assignor before it was received by the licensee for collection if
such information is known by the licensee or employee RCW l9.16.250(8)(c)(ii).

43. 'l`he Collection Letter from NCO did not contain tile amount of interest, service
chargee, or late payment charges added to the original obligation by the original creditor before it
was received by NCO for collection.

44. Det`endant therefore violated l9.l€.250(8)(c)(ii) on at least three (3) occasions.

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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 11 of 18

 

 

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Counts Xl} through XV

45. Violations ofRCW 19.16.250 are per se violations ofthe Consumer vP:rote<:ttoo
Act, RCW chapter 19.86. See RCW 19.16.440. RCW 19.86.090 provides for treble damages (to
e limit of $25,000) and attomey’s fees

46. Plaint.ifl` therefore realleges Colmts Vlll through XI as separate Cotlsumer
Proteotion Act Violations.

IV, PRAYER FOR REL!EF

thettetoke, Plalnoeprays=

1. For Judgmeot against Defendeot for eotual damages

2. For statutory damages of $l ,000.00, for FDCPA violations

3. For statutory damages of 352,000.00 per violation, for Wasltlngton Collection
Agency Act and Consumer Protectlon Act violations

4. For treble damages pursuant to lLCW 19.86.090, calculated flom the damages
detenninecl by the courtv

5. For costs and reasonable attorney’s fees as determined by the Court pursuant to
15 U.S.C. 16921{(€1)(3),

Respeott`ully submitted this 5"‘ day of May, 2015. '

ANDERSON LAW OF KING COUNTY, PLLC

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By: /
palmer smumwn§%fom
larson D And rso A No 38014
Attomeys for Kerry Leach
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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 12 of 18

 

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HENRY, DEGRAAFF & MCCORMIC'K, PS

By:__/_s/ Christina L Hem'v

Christin_a I., I-Ienry, WSBA No. 31273
Attomey for Kerry Leach

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chemy@hdm~legal.eom

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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 13 of 18

 

EXHIBIT A

 

 

Case 2:15-cv-OO890-.]LR Document 1-1 Filed 06/03/15 Page 14 of 18

 

 

 

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Notice ~ See Reverse Slde for lmporiant information

Our records indicate that your account le severely past due and that your balance exceeds the established
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Please contact us immediately al (866) 620~9867`

l Payments that are returned unpaid may he subjm:l to the maximum allowablé fees by state law.

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Case 2:15-cv-00890-.]LR Document1-1 Filed 06/03/15

Page 15 of 18

 

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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 16 of 18

 

EXHIBIT B

 

 

Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 17 of 18

 

 

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OFFICE HOURS(ET):

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Thc amount listed above is tlio total balance dnc on your credit card as ot` 08/2 l/?.OM, Wc would like to offer you an opportunity to settle
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amounts that arc discharged as a result of a cancellation of debt to the IRS` l! notification is rcqut'rcd, you will receive a copy of thc form
1099C that is filed with the IRS, You may want to consult with your tax advisor if;,'ou have any questions regarding thc tax consequences
ofacoepting this often

Plcasc call us at 1-866-810-8`138 to accept this exciting oli’cr or if you havc any questions on your account

Should you clioosc not to accept this cffcr, thc account balance may cc periodically incrcased dnc to the addition of accused interest or
other charges as provided in thc agreement with the original creditor or as otherwise provided by state law.

Calls tc or from this company may be monitored or recorded for quality assurance

Shonld you choose not to accept this offcr, the account balance may bc periodically increased doc to the addition of accrued interest or
other charges as provided in your agreement with the original creditor or as otherwise provided t)y statc law.

Thls is an attempt to collect a deht. Any information obtained will be used for that purpose Tlils is a communication from a debt
collector.

NCOP A
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Case 2:15-cv-00890-.]LR Document 1-1 Filed 06/03/15 Page 18 of 18
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Federai and state iaw prohibit certain methods of debt oo||ection, and require that we treat you tairty. if you have a
complaint about the way we are collecting your debt, please visit our webstto at Mr)gog{g)_qp._oogg or contact the '
FTC on|ine at ,MB§M; by phone at 1-877-FTC-HELP; or by mail at 600 Pennsyivania Ave., NW, Washington, DC
20580. |f you want information about your rights when you are contacted by a debt colloc!or, piease contact the FTC
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